Case 2:24-cv-00344-RJS-DAO Document 12-1 Filed 06/05/24 PageID.591 Page 1 of 2




                       Exhibit A
Case 2:24-cv-00344-RJS-DAO Document 12-1 Filed 06/05/24 PageID.592 Page 2 of 2




   Sundance Catalog Mailing List
   Sundance Catalog is renowned for its rich assortment of handcrafted art-inspired merchandise reflecting
   the heritage and diversity of the American West.


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   SEGMENTS                                                    COUNTS THROUGH 05/02/2024 POPULARITY:     100
       552,441 TOTAL UNIVERSE / BASE RATE                                      $120.00/M MARKET:     CONSUMER
        73,114 1 MONTH BUYERS                                                 + $26.00/M CHANNELS:
          119,059 3 MONTH BUYERS                                                    + $20.00/M   SOURCE:      DIRECT MAIL SOLD
          229,625 6 MONTH BUYERS                                                    + $15.00/M   PRIVACY:     UNKNOWN
          327,642 12 MONTH BUYERS                                                   + $10.00/M   DMA?:        YES - MEMBER
                  FUNDRAISERS / PUBLISHERS                                            $75.00/M   STATUS:      PREFERRED PROVIDER
   DESCRIPTION                                                                                   GEO:         USA
                                                                                                              81% FEMALE 20% MALE
    Audience Profile                                                                             GENDER:

                                                                                                              $185.00 AVERAGE
                                                                                                 SPENDING:
    Since the first catalog mailed in 1989,                                                                   ORDER
                                                                                                 SELECTS
    Robert Redford's Sundance Catalog has become domestically and internationally
                                                                                                 $100+ BUYERS              $42.00/M
    renowned for its rich assortment of handcrafted art-inspired merchandise reflecting the      $150+                     $47.00/M
                                                                                                 $200+                     $52.00/M
    heritage and diversity of the american west. The catalog features a wide assortment of
                                                                                                 $50+ BUYERS               $27.00/M
    products, many of which are handcrafted by local artists and exclusive to Sundance.          $75+ BUYERS               $32.00/M
    Products include casual apparel, unique jewelry, leather shoes and handbags, home            1 MONTH HOTLINE           $26.00/M
                                                                                                 12 MONTH HOTLINE          $10.00/M
    furnishings and accessories, as well as distinctive gift items.                              3 MONTH HOTLINE           $20.00/M
                                                                                                 6 MONTH                   $15.00/M
                                                                                                 ETHNIC                    $15.00/M
                                                                                                 GENDER                     $8.00/M
                                                                                                 GEO                       $10.00/M
    Demographics
                                                                                                 LIFESTYLE                 $15.00/M
                                                                                                 NON RECIPROCAL FEE        $25.00/M
    Average Age: 57                                                                              OMIT HOUSEFILE            $50.00/F
                                                                                                 PRODUCT                   $15.00/M
                                                                                                 PURCHASE                  $10.00/M
    Average Income $165,000
                                                                                                 RELIGION                  $15.00/M
                                                                                                 ADDRESSING
                                                                                                 KEY CODING                 $3.50/M
                                                                                                 EMAIL                     $75.00/F
                                                                                                 FTP                       $75.00/F
                                                                                                 RELATED LISTS
                                                                                                   POETRY
    Marketing Insight
                                                                                                   WRAP/POETRY MASTERFILE
                                                                                                   WRAP LONDON
    Sundance buyers are responsive to a variety of offers, including home decor, gifts,
                                                                                                   PERUVIAN CONNECTION
    apparel and accessories, epicurean, general merchandise, financial, travel, insurance          WILAND CATALOG/ONLINE BUYERS
                                                                                                   DATABASE
    and publishing. In addition, they donate to a variety of non-profit sectors that include       VIVATERRA (VIVA TERRA)
    environmental, cultural, humane services and animal welfare.                                   AT WEST END
                                                                                                   FRONTGATE
                                                                                                   GORSUCH
                                                                                                   SIGNALS


    http://www.sundancecatalog.com




   ORDERING INSTRUCTIONS
           To order this list, contact your List Broker and ask for NextMark List ID
           #596762 or click here to place your request.
           Use NextMark List Order Entry Software or Bionic Media Planning Software
           5,000 NAME MINIMUM ORDER $650.00 MINIMUM PAYMENT

           85% NET NAME AVAILABLE ON ORDERS OF 50,000 OR MORE ($10.00/M RUN
           CHARGE)
           EXCHANGE IS AVAILABLE

           REUSE IS AVAILABLE


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